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EXHIBIT 8

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In the Matter Of:
ALEKSEJ GUBAREV -v- BUZZFEED INC.

0 18-mc-60528-UU, 0 17-cv-60426-UU

FUSION GPS
August 30, 2018

30(b) (6), Attorneys Eyes Only

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1 A. No, he didn't.
2 QO. Just so that I understand, prior to the Wall
3 Street Journal publishing that information, Fusion was

4 unaware that the Wall Street Journal intended to

5 | publish that information. Is that correct?

6 A. That is correct.

7 QO. Prior to the publication of the memos, did

8 Fusion undertake any efforts to verify the allegations

9 in the December memo concerning Alex Gubarev?

10 MR. LEVY: Take your time to read through
11 it.

12 THE WITNESS: Yes, we did. We took

13 extensive steps to verify the information.

14 BY MR. FRAY-WITZER:

15 Q. And specifically the information concerning
16 Alex Gubarev?

17 A. Yes, that's right, we did.

18 Q. What steps did Fusion take to verify the

19 allegations concerning Alex Gubarev?

20 A. We took extensive steps to, as I believe I

21 testified, XBT, Webzilla and Mr. Gubarev were all new

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1 names to us. So we went to the public record to

2 determine who these people are and to determine

3 whether the information in Paragraph 3 of this memo

4 was credible.

5 What we found was an extensive record of a
6 company based in Luxemburg with no fewer than 51

7 subsidiary companies or shell companies, located in

8 places like the British Virgin Islands, Cypress,

9 Panama, India and Russia and the United States that
10 was constructed in such a way to obscure the

11 beneficial ownership of the company.

12 That's an important detail in our mind.
13 We undertook a litigation search of XBT and
14 Webzilla and a public record search with the internet.
15 We found extensive allegations, credible allegations.
16 Paragraph 3 talks about porn traffic. We found a

17 number of websites hosted by Webzilla;

18 asianpissinggirls.com, japanesetoiler.com. In Fort
19 Lauderdale, osuck.com. They were hosted by Webzilla.
20 We found extensive allegations in the public

21 record from credible people like motion picture

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1 associations in filings to the U.S. and comments to
2 the U.S. Copyright Office that Webzilla had ignored
3 repeated entreaties to take down pirated traffic

4 particularly in pornography.

5 We found that -- and this is a very telling
6 fact for us -- we found Mr. Gurvits's name on

7 extensive litigation in defense of alleged criminal

8 hackers and networks in the Ukraine and Russia.

9 And that -- we found that FireEye had

10 determined that --

11 (The reporter requested clarification.)

i THE WITNESS: FireEye, which is an internet
13 security firm had determined that Webzilla was hosting
14 a Propeller Ads -- a company called Propeller Ads

15 which involved various individuals, also tied to Mr.
16 Gubarev.

17 We understood there was a couple companies.
18 One was called Co-locate USA, which is a known

19 spamming network which is actually owned by Webzilla
20 is what we understand.

21 There was another company called Digital --

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1 I can't remember it right now. It was involved

2 allegedly in the Methbot attack which was --

3 (The reporter requested clarification.)

4 THE WITNESS: Methbot, M-E-T-H-B-O-T, that
5 at its height was stealing somewhere between three and
6 $5 million a day from unsuspecting internet users.

7 So what we found was a ere and a fact

8 set that corroborated and substantially raised the

9 credibility of the underlying reporting in this

10 memorandum.
11 BY MR. FRAY-WITZER:
12 Q. I asked you what steps you took prior to the
13 publication. Is it your testimony that you undertook
14 those steps prior to BuzzFeed's publication of the
15 dossier?

16 MR. LEVY: Objection, asked and answered.

17 MR. FRAY-WITZER: Except he's answering a

18 totally different question.

19 MR. LEVY: No, he's not.
20 MR. FRAY-WITZER: Okay. Well, then let him
21 answer it.

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1 MR. SIEGEL: That's testimony, Evan.

2 BY MR. FRAY-WITZER:

3 Q. _Did you --

4 MR. SIEGEL: Ask your question.

5 BY MR. FRAY-WITZER:

6 Q. Did you -- did Fusion undertake those

7 research efforts before BuzzFeed published the

8 dossier?
9 A. Yes, we did.
10 QO. Then let me ask you this. You said it was

11 very relevant to you that Val Gurvits's name was on
2 the pleading. Why was that relevant prior to the
13 publication of the dossier?

14 MR. LEVY: Objection, lacks foundation.
15 THE WITNESS: May I answer?

16 BY MR. FRAY-WITZER:

17 QO. Please.
18 A. Well, as an investigative matter, as a
19 research matter, who someone's lawyer is, whether it's

20 for the formation of a company or the defense of

21 allegations against them is entirely relevant in our

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1 REPORTER'S CERTIFICATE
2 District of Columbia
3 County of Washington, to wit:
4 I, KENNETH NORRIS, a Notary Public of

5 the District of Columbia, County of Washington, do

6 hereby certify that the within named witness

7 personally appeared before me at the time and place

8 herein set out, and after having been duly sworn by

9 me, according to law, was examined.
10 I further certify that the examination

11 was recorded stenographically by me and this

12 transcript is a true record of the proceedings.

13 I further certify that I am not of
14 counsel to any of the parties, nor in any way

15 interested in the outcome of this action.

16 As witness my hand and notarial seal

17 this 30th day of August 2018.

20

21

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